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                                                            Honorable James Robart


             UNITED STATES DISTRICT COURT
        WESTERN DISTRICT OF WASHINGTON, SEATTLE

UNITED STATES OF AMERICA,              )
                                       )   No. CR19-117 JLR
                         Plaintiff,    )
                                       )   DEFENSE REPLY TO GOVERNMENT
             v.                        )   RESPONSE RE: SUBPOENA OF DOJ
                                       )   EMPLOYEES
SHAWNA REID,                           )
                                       )
                         Defendant.    )
                                       )

      The government’s response offers no compelling reason to exempt the two

prosecutors who were percipient witnesses to (and active participants in) the very

activity at the heart of Shawna Reid’s criminal charges. To understand the full

circumstances under which Ms. Reid testified and her state of mind at the time, the

key players in the drama — the prosecutors who elicited her testimony — should

be presented in the flesh, not as anonymous, disembodied figures in a transcript.

      The government offers a sanitized account of events, focusing on Ms. Reid’s

answers to two questions cherry-picked from a much larger body of testimony,




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effectively depriving it of meaningful context.1

         This case is about much more than Ms. Reid’s simple responses to two

questions. Ms. Reid gave three interviews, two of them denying or qualifying

what investigators insisted she had told them in the first interview. After receiving

immunity she was compelled by court order to appear and answer questions before

the grand jury. Appearing alone before that body she perceived anger and hostility

from her questioners, especially after professing ignorance about being granted

immunity. She consulted very briefly with her newly appointed attorney before

returning to the grand jury room. She was then misadvised, by Mr. Wheatley, in

the presence of the grand jury, on the obligation to incriminate herself, to confess

to a crime.

          Ms. Reid was badgered about when she first met suspect #1and confronted

with a prior statement memorialized in agents’ reports she had never seen that

purported to contradict her testimony about her age at the time, but which, in fact,


1   The alleged perjury arises from this exchange before the grand jury:

       Q. In your first interview, did you say to the FBI that [suspect #1] bragged to you
about his involvement in the murder of a “judge or an attorney that lives on a hill”?

          A. No.

          Q. In your first interview, did you say to the FBI that [suspect #1] bragged the
    murder victim was someone of importance like a judge or an attorney general?
          A. No. GJ 17.
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bolstered it. She was asked repeatedly about whether suspect #1 had confessed to

her about a role in Tom Wales’ murder and about whether she had previously said

that he had. Her answers were largely equivocal, probably reflecting her imperfect

memory and emotional state: she did not recall but allowed that she might have

said so accidentally without meaning to, or from confusion or intimidation from

the detectives, and that she had “apparently” said yes in her first interview but

“didn’t mean it.” GJ 16-20, 38-40.

          Her actual testimony is reflected in the transcript, but it does not portray the

hostile, coercive atmosphere she perceived and confusion she suffered. While Mr.

Wheatley (and Mr. Jaffe) are unlikely to admit to anger, hostility or an overbearing

nature, the jury should observe them while hearing their testimony and judge for

itself.

          The government’s other objections do not overcome the presumption of

necessity of a witness for an adequate defense. It cites United States v Sims, 637 F.

2d 625 (9th Cir. 1980), which actually supports the defense position since Ms.

Reid’s perception of hostility and coercion are highly relevant and non-frivolous.2

It expresses concern that having government prosecutors testify at trial “would

confuse the issues, mislead the jury, and needlessly present cumulative evidence”.


2 [If the accused avers facts which, if true, would be relevant to any issue the case, the
requests for subpoenas must be granted unless [they] are inherently incredible on their
face . . . or the request is otherwise frivolous. Sims, 637 F.2d at 627.
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GB 6. This ignores the irony that the actions of the prosecutors before the grand

jury created actual confusion for both the grand jurors and Ms. Reid, the compelled

witness. Any possible confusion at trial would be attenuated by the oversight of

the trial judge, cautionary or limiting instructions, and the ability of the

government to be its own advocate, all aspects Ms. Reid lacked in dealing with her

confusion during her grand jury appearance.

      The government suggests that alternatives to these prosecutor witnesses have

not been exhausted. GB 10-12. But no one is more appropriate than these two

prosecutors. The stenographer, focused on transcript precision — not on intrigue

or witness demeanor and probably not even observing the witness — is not

appropriate. Grand jurors, themselves, whose very identities are a closely guarded

government secret, and who are personally sworn to secrecy, are likewise highly

inappropriate.

      The government asserts that the transcript of Ms. Reid’s testimony reflects

straightforward questioning and a lack of obvious intimidation or ambiguity and

“answers that were clear and concise” and could not have been misinterpreted. GB

8. The transcript does not reflect that.

      As noted above, it reflects Ms. Reid’s attempt to explain her hazy memory of

events informed by what she had since been told by investigators about her earlier

statements. The specific answers for which she was indicted were framed on either

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side by answers to very similar questions that are equivocal and ambiguous. The

indicted answers (the “no” to the two questions in the indictment) were in response

to whether she had previously told investigators that suspect #1 had bragged to her

about his involvement in the murder and whether he had bragged that the victim

was a “person of importance like a judge or attorney general”. Was her “no” in

response to whether she had told investigators that suspect #1 told her of his

involvement in the murder or whether she told them he had bragged about it?

Were the questions premised on her own purported statements to investigators that

suspect #1 had bragged about his involvement or the investigators’ characterization

of what she supposedly said? One cannot tell from the transcript.

      The questions were inherently ambiguous, and the answers they elicited

could have been interpreted in more than one way. Ms. Reid could have been

denying that she said he told her he was involved or she could have been denying

that he did so in a bragging way.3 The ambiguity should be construed against the

party that created it and that failed to clarify answers that were a product of that

ambiguity.

      Mr. Wheatley and Mr. Jaffe are necessary defense witnesses who should be

3 The government recognizes its burden but wrongfully assumes it is easily met. GB 2.
It must prove the central question, “that the defendant understood the question[s] as did
the government and that, so understood, the defendant’s answer was false”. United States
v. Matthews, 589 F.2d 442, 445 (9th Cir. 1978). To commit perjury, a defendant must
know the statement is false and not the product of confusion, mistake, or faulty memory.
United States v. Dunnigan, 507 U.S. 87, 94 (1993).
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compelled to appear and testify on Ms. Reid’s behalf.

      Respectfully submitted this 9th day of December, 2020.

                                       /s/ Michael Nance, WSBA #13933
                                       /s/ Robert Gombiner, WSBA #16059
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                                   Certificate of service

       I hereby certify that on the 9th day of December, 2020, I electronically filed the

foregoing with the clerk of the court using the CM/ECF system. Notice of this filing will

be sent electronically to counsel for other parties of record.


                                           /s/ Michael Nance




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